           Case 1-15-44847-nhl         Doc 10      Filed 12/10/15      Entered 12/10/15 17:27:54




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
                                                                             15-44847

Ugo A. Gallo,




                                            Debtor(s)



                            AFFIDAVIT PURSUANT TO LOCAL RULE 1009 1(a)             -




I, Kevin B. Zazzera, attorney for the debtor herein, swears as follows:



     1.     Debtors filed a petition under chapter 7 of the Bankruptcy Code on October 28, 2015.

     2.     Filed herewith is an amendment to Schedules A,B,C,D,E F, I &   J previously filed herein.




Dated: December 8, 2015




Sworn to before me this 8th
day of December , 2015.
                                                        DettSE VAAITS1
                                               Notary Public, State of New Yet
                                                        No. 43-480616
          d7itiaa-
                                                                          23, 28
                                                 Qualified in Fitonmond eCounty
  otary Publ . , State of New York             riarnission ExPlres Junrot

Reminder: No amendment of schedules is effective until proof of service in accordance with
EDNY LBR 1009-1 (b) has been filed with the Court.
If this amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and
4007, it will be deemed to constitute a motion for a 30-day extension of the time within which any added
creditors may file a complaint to object to the discharge of the debtor and/or to determine dischargeability.
This motion will be deemed granted without a hearing if no objection is filed with the Court and served on
debtor within 10 days following filing of proof of service of this affidavit, all attachments and the amended
schedules in accordance with EDNY LBR 1009 - 1.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
                                                                Case No. 15 44847
                                                                              -




Ugo A. Gallo                                                    Chapter 7


                                                               AFFIDAVIT OF SERVICE
                                      Debtor.

                                                          X
STATE OF NEW YORK
                                              SS:
COUNTY OF RICHMOND

DENISE J. MATTEI, being duly sworn, deposes and says:

I am over 18 years of age, I am not a party to the action, and I reside in Richmond County
in the State of New York.

I served a true copy of the within AMENDED SCHEDULE A,B,C,D,E,F, I & J, on
December 8, 2015, by milling the same in a mailing the same in a sealed envelope, with
postage prepaid thereon, in a post office or official depository of the U.S. Postal Service
within the State of New York, addressed to the last known address of the addressee as
indicted below:

Debra Kramer, PLLC
98 Cutter Mill Road
Suite 466 - South
Great Neck, New York 11021

Alicia M. Leonhard, Assistant U.S. Trustee
Office of the United States Trustee
U.S. Federal Office Building
201 Varick Street, Suite 1006
New York, NY 10014


                                                     enise Ma
Sworn to before me                                                   Notary
                                                                            ANDREW PAPPAS
On the 8th day of December 01                                               Peek State of New York
                                                                            pia. 02P45043811
                                                                     Qualified in Richmond
                                                                                            County
                                                                    Commission Expiros May f5, 2019

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                                                                                    Case 1-15-44847-nhl                         Doc 10            Filed 12/10/15                 Entered 12/10/15 17:27:54


                                                                    BSA (Official Form 6A) (12107)

                                                                    IN RE Gallo, Ugo A.                                                                                                     Case No. 1:16-bk-44847
                                                                                                                                Debtor(s)                                                                                                  (If known)

                                                                                                                      AMENDED SCHEDULE A - REAL PROPERTY
                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                    properly, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is
                                                                    married, state whether the husband, wife, both, or the marital community own the property by placing an "H,""W," "1," or "C" in the column labeled "Husband, Wife, Joint,
                                                                    or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

                                                                      Do not Include interests in executory contracts and unexpired leases on this Schedule. List them in Schedule G 'Executory Contracts and Unexpired Leases.

                                                                       If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                    interest in the property, write "None" in the column labeled "Amount of Secured Claim."

                                                                      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property on y in Schedule C 'Prop rty Claimed as Exempt.




                                                                                                                                                                                             HUSBAND. WIFE. JOINT.
                                                                                                                                                                                               O RCOMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                                                                                                                     DEBTORS INTEREST IN
                                                                                                                                                                   NATURE OF DEBTORS                                  PROPERTY WITHOUT       AMOUNT OF SECURED
                                                                                            DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                 DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                         EXEMPTION



                                                                     Home - 146 David Street, Staten Island, NY 10308                                          Fee Simple                                                    617,000.00                 730,292.92
C1993-2013EZ-FIllng, Inc. (1-800-998-242 4) - Forms Software Only




                                                                                                                                                                                      TOTAL                                  617,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                                    Case 1-15-44847-nhl                           Doc 10        Filed 12/10/15                 Entered 12/10/15 17:27:54


                                                                          (OfficiarForm 611) (12/07)

                                                                  IN RE       Gallo, Ugo A.                                                                                               Case No.       1:15-bk-44847
                                                                                                                                  Debtor(s)                                                                                          (If known)

                                                                                                                    AMENDED SCHEDULE B - PERSONAL \1ROPERTY
                                                                     Except as directed below, list ail personal property of the debtor of whatever kind. If the debtor has no Property in one or more of the categories, place an 'V in the
                                                                  appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                  and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an "H," "W," ".1," or
                                                                  "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                  in Schedule C - Property Claimed as Exempt.

                                                                    Do not list interests in executory contracts and unexpired leases on this schedule. List them In Schedule G - Executory Contracts and Unexpired Leases.

                                                                    If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." If the property is being
                                                                  held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A, B., a minor child, by John Doe, guardian." Do
                                                                  not disclose the child's name. See, II U.S.C. §I12 and Fed. IL Bankr. P. I007(m).




                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                       O RCO MMUNITy
                                                                                                                                                                                                                                             CURRENT VALUE OF
                                                                                                                                                                                                                                            DEBTORS INTEREST IN
                                                                                                                      Z0Z ia




                                                                                                                                                                                                                                            PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                              DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                                                                                             DEDUCTING ANY
                                                                                                                                                                                                                                            SECURED CLAIM OR
                                                                                                                                                                                                                                               EXEMPTION




                                                                     I.    Cash on hand.                                       cash                                                                                                                      50.00
                                                                     2. Checking, savings or other financial                   Santander                                                                                                                100.00
                                                                        accounts, certificates of deposit or
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                                                                        shares in banks, savings and loan,
                                                                        thrift, building and loan, and
                                                                        homestead associations, or credit
                                                                        unions, brokerage houses, or
                                                                        cooperatives.
                                                                     3.    Security deposits with public utilities,
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                     4.    Household goods and furnishings,                    Furniture                                                                                                               800.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                     5.    Books, pictures and other art objects,
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                     6.    Wearing apparel.                                    clothes                                                                                                                 200.00
                                                                                                                      X X X




                                                                     7.    Furs and jewelry.
                                                                     8. Firearms and sports, photographic,
                                                                        and other hobby equipment.
                                                                     9.    Interest in insurance policies. Name
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                                                                      X X




                                                                    10. Annuities. Itemize and name each
                                                                        issue.
                                                                    II. Interests in an education IRA as
                                                                        defined in 26 U.S.C. § 530(b)(I) or
                                                                        under a qualified State tuition plan as
                                                                        defined in 26 U.S.C. § 529(bXI).
                                                                        Give particulars. (File separately the
                                                                        record(s) of any such interest(s). II
                                                                        U.S.C. § 521(c).)
                                                                    12.    Interests in IRA, ERISA, Keogh, or
                                                                           other pension or profit sharing plans.
                                                                           Give particulars.
                                                                    13. Stock and interests in incorporated
                                                                        and unincorporated businesses.
                                                                        Itemize.
                                                                    14. Interests in partnerships or joint
                                                                        ventures. Itemize.
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                                                                    all (Official Form 6B) (12107)' Cont.

                                                                    IN RE Gallo, Ugo A.                                                                                                         Case No.   1:15-bk-44847
                                                                                                                                           Debtor(s)                                                                               (If known)

                                                                                                                      AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                                  HUSBAND, WIFE, JOINT.
                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                           CURRENT VALUE OF
                                                                                                                                                                                                                                          DEBTORS INTEREST IN




                                                                                                                            0 la
                                                                                   TYPE OF PROPERTY                                                                                                                                        PROPERTY WITHOUT
                                                                                                                                                         DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                                                                                             DEDUCTING ANY
                                                                                                                                                                                                                                           SECURED CLAIM OR
                                                                                                                                                                                                                                              EXEMPTION



                                                                     15. Government and corporate bonds and
                                                                         other negotiable and non-negotiable
                                                                         instruments.
                                                                                                                         XX


                                                                     16. Accounts receivable.
                                                                     17. Alimony, maintenance, support, and
                                                                         property settlements in which the
                                                                         debtor is or may be entitled. Give
                                                                         particulars.
                                                                                                                        xx




                                                                     18. Other liquidated debts owed to debtor
                                                                         including tax refunds. Give
                                                                         particulars.
                                                                     19. Equitable or future interest, life
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                                                                         estates, and rights or powers
                                                                         exercisable for the benefit of the
                                                                         debtor other than those listed in
                                                                         Schedule A - Real Property.
                                                                                                                        x




                                                                     20.   Contingent and noncontingent
                                                                                                                                                                          .
                                                                           interests in estate of a decedent, death
                                                                           benefit plan, life insurance policy, or
                                                                           trust.
                                                                                                                        x




                                                                     21.   Other contingent and unliquidated
                                                                           claims of every nature, including tax
                                                                           refunds, counterclaims of the debtor,
                                                                           and rights to setoff claims. Give
                                                                           estimated value of each.
                                                                                                                        X X X




                                                                     22.   Patents, copyrights, and other
                                                                           intellectual property. Give particulars.
                                                                     23.   Licenses, franchises, and other
                                                                           general intangibles. Give particulars.
                                                                     24.   Customer lists or other compilations
                                                                           containing personally identifiable
                                                                           information (as defined in II U.S.C. §
                                                                           101(4 IA)) provided to the debtor by
                                                                           individuals in connection with
                                                                           obtaining a product or service from
                                                                           the debtor primarily for personal,
                                                                           family, or household purposes.
                                                                     25.   Automobiles, trucks, trailers, and                           2002 Chrysler Sebring   -   90K miles                                                                        820.00
                                                                           other vehicles and accessories.
                                                                                                                       X XX X XXX X X




                                                                     26.   Boats, motors, and accessories.
                                                                     27.   Aircraft and accessories.
                                                                     28.   Office equipment, furnishings, and
                                                                           supplies.
                                                                     29.   Machinery, fixtures, equipment, and
                                                                           supplies used in business.
                                                                     30.   Inventory.
                                                                     31.   Animals.
                                                                     32.   Crops. growing or harvested. Give
                                                                           particulars.
                                                                     33.   Farming equipment and implements.
                                                                     34.   Farm supplies, chemicals, and feed.
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                                                                  116B (Official Form 611) (12/07) - Cont.

                                                                  IN RE     Gallo, Upo A.                                                                                     Case No.   1:15-bk-44847
                                                                                                                           Debtor(s)                                                                                (If known)

                                                                                                               AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                    HUSBAND. WIFE. OINT.
                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                 Zo Zr.0
                                                                                                                                                                                                                           DEBTORS INTEREST IN
                                                                                TYPE OF PROPERTY                                                                                                                            PROPERTY WITHOUT
                                                                                                                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                                                                             DEDUCTING ANY
                                                                                                                                                                                                                            SECURED CLAIM OR
                                                                                                                                                                                                                               EXEMPTION




                                                                   35.   Other personal property of any kind     X
                                                                         not already listed. Itemize.
                ing, Inc. [1-600-998-24241- Forms Software Only
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                                                                                                                                                                                             TOTAL                                  1,970.00
                                                                                                                                                                        (Include amounts from any continuation sheets attached.
                                                                           Q continuation sheets attached                                                                          Report total also on Summary of Schedules.
                                                                                       Case 1-15-44847-nhl                        Doc 10          Filed 12/10/15              Entered 12/10/15 17:27:54


                                                                       136C (Official Form 6C) (04/13)

                                                                       IN RE Gallo, Ugo A.                                                                                               Case   No. 1:15-bk-44847
                                                                                                                                  Debtor(s)                                                                          (If known)

                                                                                                          AMENDED SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                       Debtor elects the exemptions to which debtor is entitled under:                     0 Check if debtor claims a homestead exemption that exceeds $155,675. •
                                                                       fleck one box)
                                                                         ii I LL S.C. § 522(bX2)
                                                                         0 11          § 522 (hX 3)

                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                VALUE OF CLAIMED          OF PROPERTY
                                                                                         DESCRIPTION OF PROPERTY                              SPECIFY LAW PROVIDING EACH EXEMP110N
                                                                                                                                                                                                   EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                           EXEMPTIONS

                                                                       SCRUM! E R - PERSONAL PROPERTY
                                                                       cash                                                          11 USC §522(d)(6)                                                       50.00                    50.00
                                                                       Santander                                                     11 USC §522(d)(5)                                                     100.00                    100.00
                                                                       Furniture                                                     11 USC §522(d)(3)                                                     800.00                    800.00
                                                                       clothes                                                       11 USC § 622(d)(3)                                                    200.00                    200.00
                                                                       2002 Chrysler Sebring • 90K miles                             11 USC § 522(d)(2)                                                    820.00                    820.00
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                                                                       " Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                   SD (Official Form 60) (12/07)

                                                                   IN RE     Gallo, Ugo A.                                                                                                                         Case No. 1:15-bk-44847
                                                                                                                                 Debtor(s)                                                                                                                                              (If known)

                                                                                                AMENDED SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                   date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                   the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutoty liens, mortgages, deeds of trust, and other
                                                                   security interests.

                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §1I2 and Fed. R. Ban/cr. P. 1007(m). If all secured creditors
                                                                   will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                   schedule of creditors, and complete Schedule H — Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                   on each claim by placing an "H," "W," "1," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                      If the claim is contingent, place an "X' in the column labeled "Contingent." If the claim is unliquidated, place an "X'' in the column labeled "Unliquidated." If the claim
                                                                   is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                      Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last sheet
                                                                   of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on the Summary of Schedules and,
                                                                   if the debtor is an individual with primarily consumer debts, report the total from the column labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain
                                                                   Liabilities and Related Data.

                                                                   Eli Check this box if debtor has no creditors holding secured claims to report on this Schedule                                                     D.




                                                                                                                                                                                                                                                          DIS PUTED
                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                ORCOMMUNITY




                                                                                                                                                                                                                                            anyuln OnNO
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                                                                                                                                                                                                                            INZON1.1110 D
                                                                                                                              110J.I13 (103




                                                                                                                                                                                                                                                                            AMOUNT OF
                                                                            CREDITORS NAME AND MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED,                                                                 CLAIM WITHOUT
                                                                                                                                                                                                                                                                                                 UNSECURED
                                                                          INCLUDING ZIP CODE AND ACCOUNT NUMBER                                                         NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                                        DEDUCTING
                                                                                                                                                                                                                                                                                               PORTION, IF ANY
                                                                                      Oa Intinerrlons Above)                                                                     PROPERTY SUBJECT TO LIEN                                                                    VALUE OF
                                                                                                                                                                                                                                                                           COLLATERAL




                                                                   ACCOUNT NO.        5164                                                                            purchase money mortgage                                                                              730,292.92             113,292.92
                                                                   M&T Bank
                                                                   P.O. Box 1288
                                                                   Buffalo, NY 10308

                                                                                                                                                                      VALUE $   617,000.00
                                                                   ACCOUNT NO.




                                                                                                                                                                      VALUE $

                                                                   ACCOUNT NO.




                                                                                                                                                                      VALUE $

                                                                   ACCOUNT NO.




                                                                                                                                                                      VALUE $

                                                                                                                                                                                                                          Subtotal
                                                                          0 continuation sheets attached                                                                                                      (Total of this page)                                    $    730,292.92 $ 113,292.92
                                                                                                                                                                                                                            Toml
                                                                                                                                                                                                          (Use only on last page)                                     $    730,292.92 $ 113,292.92
                                                                                                                                                                                                                                                                      (Report also on         (If applicable. report
                                                                                                                                                                                                                                                                      Sumnsby or              also on Statistical
                                                                                                                                                                                                                                                                      Schedules)              Suninwy ((Certain
                                                                                                                                                                                                                                                                                              Liabilities and Related
                                                                                                                                                                                                                                                                                              Dau•)
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     •      .1
B6E (Official Form 6E) (04/13)

IN RE      Gallo, Ugo A.                                                                                                    Case No. 1:15-bk-44847
                                                             Debtor(s)                                                                                   (If known)

                 AMENDED SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule. In the boxes provided on the attached sheets, stale the name, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, II U.S.C. §I12 and Fed. R. Banta. P. I007(m).

  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an "H," "W," "1," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
"Contingent? If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an 'X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled "Total"
on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

   Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet_ Report the total of all amounts entitled to priority listed
on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
Statistical Summary of Certain Liabilities and Related Data

   Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

fl    Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
     responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in II
     U.S.C. § 507(a)(1).

•     Extensions of credit in an involuntary case
      Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
      appointment of a trustee or the order for relief. II U.S.C. § 507(a)(3).

•     Wages, salaries, and commissions
      Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
      independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
      cessation of business, whichever occurred first, to the extent provided in II U.S.C. § 507(a)(4).

fl    Contributions to employee benefit plans
      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
      cessation of business, whichever occurred first, to the extent provided in II U.S.C. § 507(a)(5).

•     Certain farmers and fishermen
      Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in II U.S.C. § 507(a)(6).

El Deposits by individuals
      Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
      were not delivered or provided. 11 U.S.C. § 507(a)(7).

O     Taxes and Certain Other Debts Owed to Governmental Units
      Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in II U.S.C. § 507(a)(8).

o     Commitments to Maintain the Capital of an Insured Depository Institution
      Claims based on commitments to the FDIC, RTC, Director of the Office of TIM ft Supervision, Comptroller of the Currency, or Board of Governors
      ofthe Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. II U.S.C. §507 (a)(9).

O     Claims for Death or Personal Injury While Debtor Was Intoxicated
      Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
      a drug, or another substance. 11 U.S.C. § 507(a)(10).

      • Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


       0 continuation sheets attached
                                                                  Case 1-15-44847-nhl                                                      Doc 10               Filed 12/10/15                                 Entered 12/10/15 17:27:54


                                                   1116E (Official Form 6E) (04/13) - Cont.

                                                   IN RE Gallo,       Uqo A.                                                                                                                                                                             Case No.   1:15-bk-44847
                                                                                                                                          Debtor(s)                                                                                                                             (If known)

                                                                   AMENDED SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                            (Continuation Sheet)


                                                                                                                                                     (Two of Priority for Cairns Listed on This Sheet)




                                                                                                                        HUSBAND, NVI FE, JOINT,
                                                                                                                           OR COMMUNITY




                                                                                                                                                                                                                          UNLIQ UIDATED
                                                                                                                                                                                                         .1.11.30N UNO3
                                                                                                                                                                                                                                                                                             AMOUNT


                                                                                                        110.ft113c103




                                                                                                                                                                                                                                          DISPUTED
                                                                                                                                                                                                                                                                          AMOUNT                NOT
                                                          CREDITORS NAME, MAILING ADDRESS                                                                                                                                                                 AMOLtNT
                                                                                                                                                       DATE CLAIM WAS INCURRED                                                                                            ENTITLED           ENTTTLED
                                                       INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                               OF
                                                                                                                                                     AND CONSIDERATION FOR CLAIM                                                                                             TO                 TO
                                                                  (See Manta, ons above)                                                                                                                                                                   CLAIM
                                                                                                                                                                                                                                                                          PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                              IF ANY




                                                   ACCOUNT NO.                                                                                    CIVIL JUDGMENT ACCOUNT
                                                   RICHMOND COUNTY SUPREME COURT- CIVIL DI                                                        OPENED 0/




                                                                                                                                                                                                                                                          83,702.00       83,702.00
no Inc. 1 1-800-998-24241- Fo rms So ftware Only




                                                   ACCOUNT NO.




                                                   ACCOUNT NO.




                                                   ACCOUNT NO.




                                                   ACCOUNT NO.




                                                   ACCOUNT NO.




                                                   Sheet no.       1 of        0 continuation sheets attached to                                                                                  Subtotal
                                                   Schedule of Creditors Holding Unsecured Priority Claims                                                                           (Totals of th s pag )                                           $    83,702.00 $     83,702.00 $
                                                                                                                                                          Total
                                                                  (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.)                                                                                      $    83,702.00
                                                                                                                                                                 Total
                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                                $   83,702.00 $
                                                                                  Case 1-15-44847-nhl                         Doc 10                                           Filed 12/10/15            Entered 12/10/15 17:27:54


                                                                  B6F (Official Form 6F) (12107)

                                                                  IN RE     Gallo, lino A.                                                                                                                           Case No.     1:15-bk-44847
                                                                                                                              Debtor(s)                                                                                                                      (If known)

                                                                               AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                  or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                  the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                  guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C. §I12 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                  listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                  schedule of creditors, and complete Schedule H- Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                  on each claim by placing an "H," "W," "J: or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X' in the column labeled "Unliquidated." If the claim
                                                                  is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                  Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                      Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                                                                                                               1
                                                                                                                                                   HUSBAND, W IFE, JOINT, I
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                             aalvainb riNn
                                                                                                                                                                                                                                               1CONTINGENT
                                                                                                                                    110.12490 03




                                                                                                                                                                                                                                                                             0911145141
                                                                                CREDITOWS NAME, MAILING ADDRESS                                                                           DATE CLAIM WAS INCURRED AND                                                                         AMOUNT
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                     CONSIDERATION FOR CLAIM IF CLAIM IS                                                                      OF
                                                                                         (See Insirucnols Above)                                                                            SUBJECT TO SETOFF, SO STATE                                                                        CLAIM
C1993-20 13EZ-FMng, Inc. [1-890-998-2424I - Forms Software Only




                                                                   ACCOUNT NO.       606a                                                                                     OPEN ACCOUNT OPENED 1012010
                                                                   Dpt Treasury
                                                                   3700 East West Hig
                                                                   Hyattsville, MD 20782

                                                                                                                                                                                                                                                                                               7,031.00
                                                                   ACCOUNT NO.       2179                                                                                     OPEN ACCOUNT OPENED 212015
                                                                   National Recovery Agen
                                                                   2491 Paxton St
                                                                   Harrisburg, PA 17111

                                                                                                                                                                                                                                                                                                 923.00
                                                                   ACCOUNT NO.




                                                                   ACCOUNT NO.




                                                                                                                                                                                                                                               Subtotal
                                                                         0 continuation sheets attached                                                                                                                            (Total of this page)                                   $    7,954.00
                                                                                                                                                                                                                                                 Total
                                                                                                                                                                                   (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                       the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                    Summary of Certain Liabilities and Related Data.)                                     $    7,954.00
                                                                                    Case 1-15-44847-nhl                          Doc 10            Filed 12/10/15                 Entered 12/10/15 17:27:54


                                                                    136G (Official Form 6G) (12/07)

                                                                    IN RE Gallo, Ugo A.                                                                                                        Case No. 1:15-bk-44847
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                       AMENDED SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                       Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor's interest in
                                                                    contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                    lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                    such as "k13., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 §112 and Fed. R. Banta. P. 1007(m).

                                                                    lil'Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S INTEREST
                                                                                       NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                          OF OTHER PARTIES TO LEASE OR CONTRACT                                            STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
C1993-20 13 EZ-Reng, Inc. (1-800-996-2424] - Fo rms Software Only
                                                                                   Case 1-15-44847-nhl                          Doc 10            Filed 12/10/15                  Entered 12/10/15 17:27:54

                                                                          -     •
                                                                   B6H (Official Form 611) (12/07)

                                                                   IN RE Gallo, Ugo A.                                                                                                         Case No. 1:15-bk-44847
                                                                                                                                Debtor(s)                                                                                    of known)

                                                                                                                          AMENDED SCHEDULE H - CODEBTORS
                                                                      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                   of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                   California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                   of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                   territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                   a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                   name. See, 11 U.S.C. 012 and Fed_ It. Bankr. P. I007(m).

                                                                   W'Check this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF ODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                Case 1-15-44847-nhl                       Doc 10          Filed 12/10/15               Entered 12/10/15 17:27:54




 Fill in this intermabori to identify your case:


 Debtor 1       ligo A. Gallo
                   FretName                 Middle Name                 Last Nan"

 Debtor 2
 (Spouse. f Mho) Fksl Name                  Middle Name                 Last News


 United States Bankruptcy Court for the: Eastern Diskid of New York


 Case number       1 :15-bk-44847                                                                         Check if this is:
 (uptown)
                                                                                                           E ' An amended filing
                                                                                                           CI A supplement showing post-petition
                                                                                                              chapter 13 income as of the following date:

Official Form 61                                                                                              MM / DD / YYYY


Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and nettling jointly, and your spouse is living with you, include information aboutyour spouse.
If you are separated and your spouse is not filing with you, do not include infomtation aboutyour spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Employment


      Fill In your employment
      information.                                                            Debtor 1                                    Debtor 2 or non-flung spouse

      If you have more than one job,
      attach a separate page Wth
      information about additional        Employment status                0 Employed                                     CI Employed
      employers.                                                           U Not employed                                 U Not employed
      Include part-time, seasonal, or
      self-employed work
                                          Occupation
      Ootupation may Include student
      or homemaker, if it applies.
                                          Employees name


                                          Employees address
                                                                           Number Street                                Number Street




                                                                           City             State ZIP Code              City                State ZP Code

                                          How long employed there?



On              Give Details About Monthly Income

      Estinate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the fines
      below. If you need more space, attach a separate sheetto this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-flUng spouse
 2. List monthly gross wages salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage muld be.              2.             0.00

 3.    Estimate and list monthly overtime pay.                                              3.   +$        0.00         +$


 4. Calculate gross income. Add line 2 + line 3.                                            4.   I$       0.00



Official Form 61                                                      Schedule I: Your Income                                                     page 1
                                                                                     Case 1-15-44847-nhl                 Doc 10         Filed 12/10/15                   Entered 12/10/15 17:27:54



                                                                  Debtor 1            Uqo A. Gallo                                                                      Case number (mows   1:15-bk-44847
                                                                                     First Name   Middle NFline     LastName

                                                                                                                                                                         -


                                                                                                                                                                    For Debtor 1            For Debtor 2 or
                                                                                                                                                                                            non-firm spouse

                                                                         Copy line 4 here                                                             + 4           $         0.00

                                                                   5.    List all payroll deductions:

                                                                          5a. Tax, Medicare, and Social Security deductions                              5a.        $          0.00           $
                                                                          51,. Mandatory contributions for retirement plans                              5b.        $          0.00           $
                                                                          Sc. Voluntary contributions for retirement plans                               5a         $          0.00           $
                                                                          5d. Required repayments of retirement fund loans                               5d.        $          0.00           $
                                                                          5e. Insurance                                                                  5e.        $          0.00           $
                                                                          5f. Domestic support obligations                                               51.        $          0.00           $

                                                                          5g. Union dues                                                                 5g         $          0.00           $

                                                                          5h. Other deductions Specify                                                5h. +$                   0.00         +$

                                                                    6 Add the payroll deductions. Add fines 5a + 5b + Sc + 5d + 5e +5f + 5g +5h. 6.                 $          0.00           $

                                                                    7.    Calculate total monthly take-home pay. Subtract line 6 from Inc 4.              7.        $          0.00
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                                                                   a. List all other income regularly received:
                                                                          8a. Net income from rental property and from operating a business,
                                                                              profession, or farm
                                                                              Attach a statement for each property and business shovving gross
                                                                              receipts, ordinary and necessary business expenses, and the tctal
                                                                                                                                                                              750.00
                                                                              monthly net income. 8a.
                                                                           8b. Interest and dividends                                                                          0.00
                                                                           Sc. Family support payments that you, a non-filing spouse, or a dependent
                                                                               regularly receive
                                                                               Include alimony, spousal support, chdd support, maintenance, divorce
                                                                                                                                                                               0.00
                                                                               settlement and property settleffent                                   8c.
                                                                          8d. Unemployment compensation                                                  8d                    0.00
                                                                           Be. Social Security                                                           Be.                 1,946.40
                                                                           En. Other government assistance that you regularly receive
                                                                              Include cash assistance and the value Of known) of any non-cash assistance
                                                                              that you receive such as food stamps (benetts under the Supplemental                             0.00
                                                                              Nutrition Assistance Program) or housing subsidies.
                                                                              Specify:                                                                81.

                                                                           8g. Pension or retirement income                                              8g.        $          0.00

                                                                           8h. Other monthly Income. Specify:                                          8h. + $                 0.00          +$

                                                                    o. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.              9.        $        2.696.401

                                                                   to. Calculate monthly income. Add line 7 + Inc a
                                                                       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

                                                                   11. State all other regular contributions to the expenses that you list in Schedule J.
                                                                                                                                                          10.
                                                                                                                                                                I   $ 2,696.40                                     $     2.696.40



                                                                       Include contributions frcm an unmarried partner, members of your household, your dependent, your roorrmates, and
                                                                       other friends or relatives.
                                                                          Do not hdude any arnounts already Included in lines 2-10 or amounts that are not available to pay expenses fisted in Schedule J.
                                                                          Specify:                                                                                                                            11. + $        0.00
                                                                   12. Add the amount In the last column of line 10 to the amount in line 11. The remit is the combined morthly income.
                                                                       Write that amount on the Summary of Schedules and Statistical Surrrnary of Certain Liabilities and Related Data, if it apples 12            1$ 2,696.40      1
                                                                                                                                                                                                                   Combined
                                                                                                                                                                                                                   monthly Income
                                                                    Is. Dod,you expect an increase or decrease within the year after you file this form?
                                                                               No.
                                                                                             'None
                                                                               Yes. Explain:


                                                                        Official Form 61                                           Schedule!: Your Income                                                               page 2
                       Case 1-15-44847-nhl                         Doc 10        Filed 12/10/15             Entered 12/10/15 17:27:54




        Fill in this inforrriation to identify your case:

        Debtor 1          Ono A. Gallo
                         Flat NM                    Middle Nacre              Last Nene                       Check if this is:
        Debtor 2
        (Spouse, tine)   Roe Nam,                   MtIttle Nam,              Last HINTO
                                                                                                              E 'An amended filing
                                                                                                              0 A supplement showing post-petition chapter 13
        United States Bankruptcy Court for the: Eastern Disbict of New York                                       expenses as of the following date:
        Case number       1:15-bk-44847                                                                           MM / DD / YYYY
        (If known)
                                                                                                              0 A separate filing for Debtor 2 because Debtor 2
                                                                                                                  maintains a separate household
      Official Form 6J
      Schedule J: Your Expenses                                                                                                                                       12/13

      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      Information. If more space 5 needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.

       Part 1:           Describe Your Household

      1. Is this a joint case?

            No. Go to line 2.
            '


▪
0        U Yes. Does Debtor 2 live In a separate household?

                     CI No
                     U Yes. Debtor 2 must file a separate Schedule J.

Lc 2. Do you have dependents?                      iNo                                     Dependent's relationship to              Dependent's          Does dependent hoe
•        Do not fist Debtor 1 and                      Yes. All out this information for   Debtor 1 or Debtor 2                     age                  with you?
         Debtor 2.                                     each dependent...
         Do not state the dependent'
                                                                                                                                                         LI   No
€i?      names.                                                                                                                                          C3   Yes
at
                                                                                                                                                         C3 No
                                                                                                                                                         0 Yes
                                                                                                                                                         0    No
                                                                                                                                                         0    Yes
                                                                                                                                                         0  No
0                                                                                                                                                        0 Yes
                                                                                                                                                         0    No
                                                                                                                                                         17   Yes

      3. Do your expenses Include
                                                   INo
         expenses of people other than
         yourself and your dependents?             0 Yes

      Part 2:        Estimate Your Ongoing Monthly Expenses

      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement In a Chapter 13 caseto report
      expenses as of a date after the bankruptcy Is flied. If this is a supplemental Schedule J, check the box at the top of the form and fill In the
      applicable data.
      Include expenses paid for with non-cash government assistance If you know the value of
      such assistance and have Included It on Schedule!: Yourincome (Official Form 61.)                                                Your expenses

       4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                              4.
                                                                                                                                                  0.00
           any rent for the ground or lot.
          If not included In line 4:
          4a.      Real estate taxes                                                                                          4a.     $           0.00
          4b.      Property, homeowners, or renter's insurance                                                                4b.                 0.00
           4c.     Home maintenance, repair, and upkeep expenses                                                              ac.     $           0.00

           ad. Homeower's assodation or condoninium dues                                                                      4d.     $           0.00

        Official Form 6J                                               Schedule J: Your Expenses                                                                   page 1
                                                                                       Case 1-15-44847-nhl                 Doc 10         Filed 12/10/15     Entered 12/10/15 17:27:54




                                                                    Debtor 1           Ugo A. Gallo                                                          Case number   "know.   1:15-bk-44847
                                                                                       Nat Narre      Miklb MIMS      Leeman.



                                                                                                                                                                                               Your expenses

                                                                                                                                                                                                      0.00
                                                                     5. Additional mortgage payments for your residence, st.th as hone equity loans                                 5.


                                                                     6. Utilities:
                                                                           6a.    Electricity, heat, natural gas                                                                    8a.        $    450.00
                                                                           813,   Water, sever, garbage collection                                                                  6b.        $     100.00
                                                                           8c.    Telephone, cell phone Internet. satate, and cable services                                        6c.        $     75.00

                                                                           6d.    Other. Spedfy. Cable                                                                              ed.        $     175.00

                                                                     7. Food and housekeeping supplies                                                                              7.         $    800.00

                                                                     a. Childcare and children's education costs                                                                    a.         $      0.00

                                                                     s. Clothing, laundry, and dry cleaning                                                                         9.         $     300.00

                                                                    to. Personal cam products and services                                                                          10.               0.00

                                                                    11. Medical and dental expenses                                                                                 ii.              50.00
                                                                    12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                     300.00
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                                                                        Do not include car payment.                                                                                 12.

                                                                    13. Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.        $      0.00
                                                                    14. Charitable contributions aid religious donations                                                            14.        $      0.00

                                                                    15. Insurance.
                                                                        Do not include insurance deducted from your pay or included in Ones 4 or 20.

                                                                           16a. Life Insurance                                                                                      15a. $            0.00
                                                                            15b. Health Insurance                                                                                   15b. $            0.00
                                                                            Ise. Vehlde insurance                                                                                   15c. $           220.00
                                                                            15d. Other insurance. Specify                                                                           15t $             0.00

                                                                    18.    Taxes. Do not indude taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                      0.00
                                                                            Specify:                                                                                                18.


                                                                    17     Installment or lease payments:

                                                                            17a. Car payments forVehicle 1                                                                          17a        $      0.00

                                                                            17b. Car payment for Vehicle 2                                                                          17b        $      0.00

                                                                            17a Other. Specify:                                                                                     17c        $      0.00

                                                                            17d. Other. Specify                                                                                     17d        $      0.00

                                                                    18. Your payments of alimony, maintenance, and support that you dld not report as deducted from                                   0.00
                                                                                                                                                                                               $
                                                                        your pay on One 5, Schedule( Your Income (Official Form 61).                                                     18.


                                                                    19. Other payments you make to support others who do not live with you.                                                           0.00
                                                                           Specify .                                                                                                     19.


                                                                    20     Other real property expenses not Included in lines 4 or 5 of this form oron Schedule t Your Income.

                                                                            zoa. Mortgages on other property                                                                        2oa. $            0.00

                                                                            20b. Real estate taxes                                                                                  20b        $      0.00

                                                                            20c. Property, hcrneownert, or renters insurance                                                        20c        $      0.00

                                                                            20d. Maintenance, repair, and upkeep expenses                                                           20d        $      0.00

                                                                            20e. Homeovner's association or condoninium dues                                                        20e        $      0.00



                                                                          Official Form 6J                                       Schedule J: Your Expenses                                                     page 2
                                                                                     Case 1-15-44847-nhl                       Doc 10            Filed 12/10/15                Entered 12/10/15 17:27:54

                                                                       I   IP
                                                                     136 Declaration (Official Form 6- Declaration) (12/07)

                                                                     IN RE       Gallo, Ugo A.                                                                                             Case   No. 1:15-bk-44847
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                    AMENDED DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                       18 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief


                                                                     Date: December 8, 2015                              Signature: /s/ Uqo A. Gallo
                                                                                                                                       Ugo A. Gallo                                                                                                     Debtor


                                                                     Date:                                              Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if fury)
                                                                                                                                                                                                 [If joint case, both spouses must sign.]


                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 11004, 110(b),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(b) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
C1993-20 13 EZ-FilIng, Inc. [1-800-998-24241- Form a Software Only




                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Pmparer                                              Social Security No. (Required by II U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title            of any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                            Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                       (the president or other officer or an authorized agent of the corporation or a

                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of sheets (total shown on summary page plus l), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.




                                                                     Date:                                              Signature:


                                                                                                                                                                                                   Write or type name ofindividual signing on betralfordebror)


                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                              Penaltyfor making a false statement or concealing property:   Fine of up to 5500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                                                                      B7 (Official Form 7) (04/13)

                                                                                                                                 United States Bankruptcy Court
                                                                                                                                  Eastern District of New York

                                                                      IN RE:                                                                                                         Case No. 1 :15-bk-44847
                                                                      Gallo, Ugo A.                                                                                                  Chapter 7
                                                                                                                         Debtor(s)
                                                                                                                 AMENDED STATEMENT OF FINANCIAL AFFAIRS
                                                                         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                      is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                      is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                      farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                      personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                      guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §I12 and Fed. R. Bankr. P. 1007(m).

                                                                        Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                      25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                      use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                               DEFINITIONS

                                                                         "In business."A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                      for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                      an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                      partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this
                                                                      form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary employment.

                                                                         "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                      which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                      affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                      1. Income from employment or operation of business
                                                                       NMe    State the gross amount of income the debtor has received f,uuo employment, trade, or profession, or from operation of the debtor's business,
                                                                       [kr      including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                               case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                               maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                               beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                               joint petition is not filed.)

                                                                      2. Income other than from employment or operation of business
                                                                       Nan°State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the
                                                                       0 two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                            separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                            the spouses are separated and a joint petition is not filed.)
                                                                                       AMOUNT SOURCE
                                                                                       23,500.00 Social Security

                                                                      3. Payments to creditors
                                                                      Complete a. or b., as appropriate, and c.
                                                                       None    a. Individual orjoint debtor(s) with primarily consumer debts:      List all payments on loans, installment purchases of goods or services, and other
                                                                               debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                               constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                               a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                               counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                               petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     None
                                                                        b. Debtor whose debts are not primarily consumer debts: List each payment or other nattier to any creditor made within 90 days immediately
                                                                     WA preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                        $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                        debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                        is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            • Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                     Nene c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                     •      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                            a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                    4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                     None a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                     0 bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                          not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                    CAPTION OF SUIT                                                                         COURT OR AGENCY         STATUS OR
                                                                    AND CASE NUMBER                             NATURE OF PROCEEDING                        AND LOCATION            DISPOSITION
                                                                    000301968                                   CIVIL JUDGMENT                              RICHMOND COUNTY SUPREME Filed
                                                                    UGO GALLO                                                                               COURT - CIVIL DIVISION

                                                                     Nen° b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                     121 the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                          or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                    5. Repossessions, foreclosures and returns

                                                                     None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                     ki the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                           include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                          joint petition is not filed.)

                                                                    6. Assignments and receiverships

                                                                     None a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                     Rir (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                          unless the spouses are separated and joint petition is not filed.)

                                                                     N° 11° b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                     •       commencement of this case (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                    7. Gifts
                                                                     Nona List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                            gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                            per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                            a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                    8. Losses
                                                                     None List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                     1Wf. commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                            a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                    9. Payments related to debt counseling or bankruptcy

                                                                     N°" List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                     n    consolidation, reliefunderthe banlcruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                          of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                  AMOUNT OF MONEY OR DESCRIPTION
                                                                    NAME AND ADDRESS OF PAYEE                                          PAYOR IF OTHER THAN DEBTOR                        AND VALUE OF PROPERTY
                                                                    Kevin B. Zazzera                                                   10128/15                                                         2,665.00
                                                                    182 Rose Avenue
                                                                    Staten Island, NY 10306-0000
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                                                                         •       '0



                                                                      10. Other transfers

                                                                       None
                                                                          a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                       Wi absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                           chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)


                                                                       None
                                                                               b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                       ✓       device of which the debtor is a beneficiary.

                                                                      11. Closed financial accounts

                                                                       None List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                       •   transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                           certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                           brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                           accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)

                                                                      12. Safe deposit boxes

                                                                       None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      13. Setoffs
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                                                                       None
                                                                          List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                       Wi case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                           petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      14. Property held for another person

                                                                       None   List all property owned by another person that the debtor holds or controls.
                                                                       IR1

                                                                      15. Prior address of debtor

                                                                       Nee°
                                                                          If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                       Z. that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                      16. Spouses and Former Spouses

                                                                       None If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                       121. Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case
                                                                              identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                      17. Environmental Information
                                                                      For the purpose of this question, the following definitions apply:
                                                                      "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                      wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                      the cleanup of these substances, wastes or material.
                                                                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                      debtor, including, but not limited to, disposal sites.
                                                                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                      or similar term under an Environmental Law.

                                                                       Nom, a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                       2. potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.
                                                                             — —
                                                                       None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                       10. the governmental unit to which the notice was sent and the date of the notice.
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                                                                 None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                 2. is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                18. Nature, location and name of business

                                                                 None a. lithe debtor Is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                      proprietor, or was self-employed in a trade, profession, or other activity either or part-time within six years immediately preceding the
                                                                      commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                      preceding the commencement of this case.
                                                                        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within    six years immediately
                                                                        preceding the commencement of this case.
                                                                        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                        preceding the commencement of this case.

                                                                 None b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101



                                                                [If completed by an individual or individual and spouse]

                                                                I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                thereto and that they are true and correct.
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                                                                Date: December 8 2015                           Signature /s/ Uqo A. Gallo
                                                                                                                of Debtor                                                                                      Ugo A. Gallo

                                                                Date:                                          Signature
                                                                                                                of Joint Debtor
                                                                                                                (if any)

                                                                                                                                  0 continuation pages attached


                                                                 Penalty for making a false statement: Fine of up to 8500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                B61Sum mary/Ofticial Form 6- Summary) (12/14)

                                                                                                                             United States Bankruptcy Court
                                                                                                                              Eastern District of New York

                                                                IN RE:                                                                                                                Case No. 1:15-bk-44847
                                                                Gallo, Boo A.                                                                                                         Chapter 7
                                                                                                                     Debtor(s)

                                                                                                                     AMENDED SUMMARY OF SCHEDULES
                                                                Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Repon the totals from Schedules A, B, D, E, F, I , and Sin the boxes
                                                                provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E. and F to
                                                                determine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file
                                                                a case under chapter 7, II, or 13.


                                                                                                                            ATTACHED              NO. OF
                                                                  NAME OF SCHEDULE
                                                                                                                             (YES/NO)             SHEETS                ASSETS                 LIABILITIES                OTHER



                                                                  A Real Property
                                                                     -                                                           Yes                          1 $         617,000.00


                                                                  B - Personal Property                                          Yes                          3 $            1,970.00


                                                                  C - Property Claimed as Exempt                                 Yes                          1
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                                                                  D - Creditors Holding Secured Claims                           Yes                          1                            $        730,292.92


                                                                  E - Creditors Holding Unsecured Priority                       Yes                          1                            $                0.00
                                                                      Claims (Total of Claims on Schedule E)

                                                                  F - Creditors Holding Unsecured                                Yes                          1                            $           7,954.00
                                                                      Nonpriority Claims

                                                                  G- Executory Contracts and Unexpired                            Yes                         1
                                                                      Leases

                                                                  H - Codebtors                                                   Yes                         1


                                                                  I - Current Income of Individual                                Yes                          2                                                     $          2,696.40
                                                                         Debtor(s)

                                                                  J - Current Expenditures of Individual                          Yes                          3                                                     $           2,470.00
                                                                       Debtor(s)

                                                                                                                                  TOTAL                      15 $          618,970.00      $        738,246.92
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                                                                     B t'Summarc (Official Form 6- Summary) (12114)

                                                                                                                         United States Bankruptcy Court
                                                                                                                          Eastern District of New York

                                                                     IN RE:                                                                                        Case No. 1:15-bk-44847
                                                                     Gallo, Uno A.                                                                                 Chapter 7
                                                                                                                  Debtor(s)

                                                                     AMENDED STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (II
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                     $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                         $           0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                            $           0.00

                                                                       Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                       Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                       Schedule E                                                                                        $           0.00

                                                                       Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL       $           0.00


                                                                       State the following:

                                                                       Average Income (from Schedule I, Line 12)                                                          $     2,696.40

                                                                       Average Expenses (from Schedule J, Line 22)                                                        $     2,470.00

                                                                       Current Monthly Income (from Form 22A-1 Line II; OR, Form 22B Line 14; OR, Form 22C-I
                                                                       Line 14 )                                                                                          $          0.00


                                                                       State the following:

                                                                       1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                         $   113,292.92

                                                                       2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column.                                    $    83,702.00

                                                                       3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                           $          0.00

                                                                       4. Total from Schedule F                                                                                             $      7,954.00

                                                                       5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $   121,246.92
